829 F.2d 35Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Lawrence HUGHES, Petitioner-Appellant,v.STATE OF SOUTH CAROLINA; T. Travis Medlock, Attorney Generalof the State, Respondents-Appellees.
    No. 87-7056
    United States Court of Appeals, Fourth Circuit.
    Submitted July 23, 1987.Decided August 27, 1987.
    
      Lawrence Hughes, appellant pro se.
      William Alva Ready, III, Office of the Attorney General of South Carolina, for appellees.
      Before WIDENER, JAMES DICKSON PHILLIPS and ERVIN, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the magistrate's recommendation discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Hughes v. South Carolina, C/A No. 85-1084 (D.S.C., Feb. 20, 1987).
    
    
      2
      DISMISSED.
    
    